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                           UNITED STATES DISTRICT COURT
                                 DISTRICT OF UTAH

                                           )
FREE SPEECH COALITION, INC.; D.S.          )
DAWSON; JOHN DOE; DEEP                     )
CONNECTION TECHNOLOGIES, INC.;             )
                                           )
CHARYN PFEUFFER; and JFF                   )
PUBLICATIONS, LLC,                         )        PLAINTIFFS’ MOTION AND
                                           )        SUPPORTING MEMORANDUM
            Plaintiffs,                    )        FOR PRELIMINARY INJUNCTION
                                           )
      v.                                   )
                                           )        CASE NO.: 23-cv-287
                                           )
JESS L. ANDERSON, in his official capacity )
as THE COMMISSIONER OF THE UTAH                     JUDGE STEWART
                                           )
DEPARTMENT OF PUBLIC SAFETY; and )                  MAG. JUDGE OBERG
SEAN D. REYES, in his official capacity as )
THE ATTORNEY GENERAL OF THE                )
STATE OF UTAH,                             )
                                           )
                                           )
            Defendants.                    )




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 “Indeed, perhaps we do the minors of this country harm if First Amendment protections, which
       they will with age inherit fully, are chipped away in the name of their protection.”

                                    - Judge Lowell A. Reed, Jr.

                     ACLU v. Reno, 31 F. Supp. 2d 473, 498 (E.D. Pa. 1999)
                                               ***

       Pursuant to Federal Rule of Civil Procedure 65 and Local Civil Rule 7-1, Plaintiffs,

through undersigned counsel, respectfully move this Honorable Court for preliminary injunctive

relief pending resolution of the case on the merits. Because of the stakes and complexity of the

issues herein, Plaintiffs respectfully request oral argument on this motion.

                                      I.     INTRODUCTION

       After numerous federal court decisions invalidating as unconstitutional state and federal

laws seeking to regulate or ban the publication of material harmful to minors on the internet, the

Utah legislature has tried once more. S.B. 287 (“Act” or “Utah Act”) place substantial burdens

on Plaintiff website operators, content creators, and countless others who use the internet by

requiring websites to age-verify every internet user before providing access to non-obscene

material that meets the State’s murky definition of “material harmful to minors.”

       This attempt to restrict access to online content is not novel. The United States Supreme
Court invalidated a federal law restricting internet communications deemed harmful to minors on

First Amendment grounds in Reno v. ACLU, 521 U.S. 844 (1997). The Third Circuit invalidated

a second such law on First Amendment grounds in ACLU v. Mukasey, 534 F.3d 181 (3rd Cir.

2008), cert. denied, 555 U.S. 1137 (2009). And in state after state, laws containing content-based

restrictions on internet communications deemed harmful to minors have been held

unconstitutional. Yet despite this long legacy of constitutional invalidity, the Utah Legislature

has used not just the same tired justifications, but even the same statutory terms and definitions


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that led to invalidation of those past efforts. In doing so, it has placed Plaintiffs in the untenable

position of abiding by the Act’s terms and enduring the constitutional infringement, or violating

the Act and risking lawsuits.

        The Act violates the First Amendment in several respects. First, it imposes a content-

based restriction on protected speech that requires narrow tailoring and use of the least restrictive

means to serve a compelling state interest, yet it captures a substantial quantity of protected

speech without accomplishing its stated purpose of protecting minors from materials they may

easily obtain from other sources and via other means. Because the Act is substantially overbroad

and vague, it poses additional concerns under the First and Fourteenth Amendments. The Act

also significantly burdens interstate commerce by regulating out-of-state conduct and

contributing to a growing patchwork of state laws legislating the 21st Century’s most crucial

instrumentality of commerce—the internet.

        Plaintiffs are a diverse mix of individuals and entities who, pursuant to 18 U.S.C. § 2201

and 2202, and 42 U.S.C. § 1983 and 1988, are seeking declaratory and injunctive relief to

vindicate rights secured by the Constitution. To stave off irreparable injury from the (present and

continuing) deprivation of these rights, they move herein for a preliminary injunction pending

the final determination of their claims. 1




1
  At this time, Plaintiffs do not move for a preliminary injunction as to claims that the Act (a)
works as a presumptively unconstitutional “prior restraint” on speech; (b) violates the Equal
Protection Clause by excepting certain “news-gathering organizations” from its ambit; (c) violates
“fundamental rights” secured by the Due Process Clause; or (d) is preempted by 47 U.S.C. § 230
(“Section 230”). Plaintiffs reserve all rights to assert these claims at a later date.

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                                II.     FACTUAL BACKGROUND

   1. The Act
       Utah’s S.B. 287, codified at Sections 78B-3-1001 and 1002 of the Utah Code, imposes

liability upon a “commercial entity that knowingly and intentionally publishes or distributes

material harmful to minors on the Internet from a website that contains a substantial portion of

such material . . . [where] the entity fails to perform reasonable age verification methods to

verify the age of an individual attempting to access the material.” Such liability includes

“damages resulting from a minor’s accessing them material, including court costs and reasonable

attorney fees[.]”

       A “commercial entity” includes every “legally recognized entit[y]” from the largest

corporation down to the smallest “sole proprietorship.” “Substantial portion” means “more than

33-1/3% of total material on a website, which meets the definition of ‘material harmful to

minors’ as defined[.]” “Reasonable age verification methods” are limited to (a) “use of a

digitized identification card” through “a state-approved application” that downloads a “data file

from a state agency or an authorized agent of a state agency” which contains “all of the data

elements visible on the face and back of a license or identification card and displays the current

status of the license or identification card”; (b) “an independent, third-party age verification
service that compares the personal information entered” by the user against a “commercially

available database, or aggregate of databases, that is regularly used by government agencies and

businesses for the purpose of age and identity verification”; or (c) “any commercially reasonable

method that relies on public or private transactional data” to verify the user’s age.




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        The Act’s definition of “material harmful to minors” attempts to track the Supreme

 Court’s modified-for-minors Miller Test2 and includes “(a) any material that the average person,

 applying contemporary community standards, would find, taking the material as a whole and

 with respect to minors, is designed to appeal to, or is designed to pander to, the prurient interest;

 (b) material that exploits, is devoted to, or principally consists of descriptions of actual,

 simulated, or animated display or depiction of [certain body parts (including “the nipple of the

 female breast”) or sexual acts (including “touching . . . of “nipples, breasts, [or] buttocks”)] in a

 manner patently offensive with respect to minors; and (c) the material taken as a whole lacks

 serious literary, artistic, political, or scientific value for minors” (emphasis added). “Minor” is

 defined as “any person under 18 years old.”

        In the few brief minutes that the Bill was debated on the floor of the Senate, its sponsor,

 Senator Todd Weiler, acknowledged the constitutional concerns presented:

        I wanted to run a bill like this a few years ago. I didn’t know if it would pass
        constitutional muster so I gained a lot of confidence when I saw that Louisiana
        had done it, and I had people contacting me, some of whom are in the audience
        today, saying “hey, Louisiana did this so why doesn’t Utah do it?”
 See Senate Floor Debate, Day 42 (2/28/2023).3 Rather than consult with attorneys or perform an

 independent dive into the constitutional merits, the Senator ostensibly took Louisiana’s passage

 as a green light for Utah to follow suit. Senator Michael McKell, speaking in support of the Bill,

 explained on the floor of the Senate that traffic to adult websites in Louisiana had dropped

 significantly since its enactment of a nearly identical bill, which he characterized as “a positive




 2
   See Ginsberg v. United States, 390 U.S. 629, 639 (1968) (adapting general test of obscenity under
 the First Amendment to reflect “prevailing standards in the adult community as a whole with
 respect to what is suitable material for minors”).
 3
   Available at https://le.utah.gov/av/floorArchive.jsp?markerID=122958.

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 impact right out of the gate.” Id. Stifling adult speech is very much a feature of this legislation,

 not a bug.

    2. The Plaintiffs
        Plaintiffs are a collection of non-profits, for-profits, and individuals who rely on the

 internet for communication, both as providers and recipients of First Amendment-protected

 materials.

        Free Speech Coalition, Inc. (FSC) is a not-for-profit trade association representing

 hundreds of businesses and individuals involved in the production, distribution, sale, and

 presentation of constitutionally-protected and non-obscene materials that are disseminated to

 consenting adults via the internet. Most of that material would fit within Utah’s statutory

 definition of “material harmful to minors.” See Declaration of Alison Boden (hereinafter, “Boden

 Decl.”).

        D.S. Dawson is a 30-year-old man Utahn man who writes gay erotica under several

 different pennames. His stories are sold as e-books and paperbacks on Amazon and audiobooks

 on e-commerce platform Gumroad. Dawson drives traffic to Gumroad by posting audio previews

 on adult sites PornHub and xHamster (promotion that he credits with nearly all of his audiobook
 sales to date). See Declaration of D.S. Dawson (hereinafter, “Dawson Decl.”).

        John Doe is a 74-year-old Utah attorney who, as part of his legal practice, represents

 various adult bookstores and sexual device manufacturers, which requires that he visit websites

 that contain a substantial portion of material that may be deemed “harmful to minors” under the

 Act. Doe is concerned about providing any personal identifying information to gain entry to such

 websites as part of his work. See Declaration of John Doe (hereinafter, “Doe Decl.”).

        Deep Connection Technologies Inc. (DCT) is the company that operates O.school, an

 online educational platform focused on sexual wellness. Because of the breadth and vagueness of

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 the “material harmful to minors” definition, DCT is concerned that one-third or more of O.school

 content meets the statutory definition. As a provider of critical sex education appropriate (and

 necessary) for older minors, DCT opposes any age-verification measure that would preclude

 those teens from accessing O.school’s content. See Declaration of Andrea Barrica (hereinafter,

 “Barrica Decl.”).

        Charyn Pfeuffer (Pfeuffer) is a 50-year-old woman living in Seattle, WA who has

 written professionally about sex and relationships for 25 years and created online sexual content

 for three. She is concerned that one-third of the online archive of her writings might contain what

 qualifies as “material harmful to minors,” as well as much of her video content on webcam sites

 OnlyFans and SextPanther. She worries that she will be unable to perform qualifying “reasonable

 age verification methods,” particularly as to content hosted on platforms operated by other

 commercial entities. See Declaration of Charlyn Pfeuffer (hereinafter, “Pfeuffer Decl.”).

        JFF Publications, LLC (JFF) is the limited liability company that operates an internet-

 based platform at the domain <JustFor.Fans> that allows independent performers of erotic

 audiovisual works to publish their content and provide access to fans on a subscription basis. JFF

 is confused about what the Act covers and demands, and concerned about the costs of

 compliance. See Declaration of Dominic Ford (hereinafter, “Ford Decl.”).

                         III.    LEGAL BACKGROUND AND HISTORY

        For almost as long as the internet has been in American households, legislators at the

 state and federal levels have tried their hands at legislating disfavored content in a manner that

 would pass constitutional muster. They have roundly failed.

        The first such attempt came via the federal Communications Decency Act (CDA) that

 criminalized, inter alia, the knowing dissemination of “obscene or indecent messages” to a


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 recipient under 18 years of age and any message that “in context, depicts or describes, in terms

 measured by contemporary community standards, sexual or excretory activities or organs.” See

 47 U.S.C. § 223(a), (d). Shortly after the CDA took effect, groups of businesses, libraries, not-

 for-profit organizations, and educational societies brought a First Amendment challenge, which a

 three-judge panel in the Eastern District of Pennsylvania granted, enjoining the enforcement of

 the Act. See ACLU v. Reno, 929 F. Supp. 824 (E.D. Pa. 1996).

        The government appealed directly to the Supreme Court, which invalidated the

 challenged provisions and affirmed the lower court’s injunction. See Reno v. ACLU, 521 U.S.

 844 (1997). The Court first held that the provisions prohibiting transmission of “indecent” or

 “patently offensive” materials were blanket content-based restrictions on speech and not mere

 time, place, and manner regulations. As such, they would be strictly scrutinized. See id. So, too,

 were they facially overbroad—capturing much constitutionally protected material. See id. In

 reaching its decision, the Court did not apply the standards applicable to traditional broadcasting,

 which—unlike the internet—is a scarce and highly regulated resource. See id. at 870 (“Through

 the use of chat rooms, any person with a phone line can become a town crier with a voice that

 resonates farther than it could from any soap box. Through the use of web pages, mail exploders,

 and newsgroups, the same individual can become a pamphleteer. As the District Court found,

 ‘the content on the Internet is as diverse as human thought.’”).

        After that invalidation, Congress returned to the drawing board to pass the Child Online

 Protection Act (COPA), which prohibited any person from knowingly “making any

 communication [over the internet] for commercial purposes available to any minor and that

 includes any material that is harmful to minors.” 47 U.S.C. § 231. Publishers could assert an

 affirmative defense to prosecution if they restricted minors’ access in one of several ways: “(A)

 by requiring use of a credit card, debit account, adult access code, or adult personal identification


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 number; (B) by accepting a digital certificate that verifies age; or (C) by any other reasonable

 measures that are feasible under available technology.” Id. at § 231(c)(1). More limited than

 “indecent” or “patently offensive” messages, material “harmful to minors” was restricted to any

 communication, picture, image, graphic image file, article, recording, writing, or other matter of

 any kind that is obscene or that:

                (A) the average person, applying contemporary community standards,
                would find, taking the material as a whole and with respect to minors, is
                designed to appeal to, or is designed to pander to, the prurient interest;
                (B) depicts, describes, or represents, in a manner patently offensive with
                respect to minors, an actual or simulated sexual act or sexual contact, an
                actual or simulated normal or perverted sexual act, or a lewd exhibition of
                the genitals or post-pubescent female breast; and
                (C) taken as a whole, lacks serious literary, artistic, political, or scientific
                value for minors.
 47 U.S.C. § 231(e)(6).

        Again, the statute was challenged by a diverse array of website operators offering

 everything from “resources on obstetrics, gynecology, and sexual health” to “books and images

 for sale.” The district court for the Eastern District of Pennsylvania granted a preliminary

 injunction, holding that the legislation, like that before it, was “content-based,” presumptively

 invalid, and subject to strict scrutiny that it could not endure. See ACLU v. Reno, 31 F. Supp. 2d

 473 (E.D. Pa. 1999) (holding that the prohibitions were not the “least restrictive means” of

 protecting children from the perceived harm). The Court of Appeals affirmed the injunction,

 albeit on different grounds—concluding that COPA’s use of “contemporary community

 standards” to identify material that is “harmful to minors” by itself rendered the statute

 substantially overbroad, as the borderless nature of the internet would require speakers to abide

 by standards set by “the most puritan of communities in any state.” See ACLU v. Reno, 217 F.3d

 162, 175 (3d Cir. 2000). Because of the attending chilling effect, the panel reasoned that


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 websites would “shield vast amounts of material” in order to avoid potential liability—“lead[ing]

 inexorably to [its] holding of a likelihood of unconstitutionality of the entire COPA statute.” Id.

 at 174.

           The Supreme Court vacated the holding that the uncertainly regarding the “community

 standard” in and of itself rendered COPA unconstitutional, remanding for a determination

 whether the statute was unconstitutionally overbroad or void for vagueness under a strict scrutiny

 analysis. On remand, the Court of Appeals affirmed the district court’s holding that the statute

 was unconstitutional insofar as it “was not narrowly tailored to serve a compelling government

 interest, was overbroad, and was not the least restrictive means available for the Government to

 serve the interest of preventing minors from using the Internet to gain access to materials that are

 harmful to them.” See ACLU v. Ashcroft, 322 F.3d 240 (3d Cir. 2003). In so holding, the Third

 Circuit acknowledged that device-level filters and blocking software achieved the purpose of

 restricting access by minors without suppressing the speech of the person who posts content on

 the Web. See id. at 261-66.

           Upon review a second time, the Supreme Court affirmed the grant of a preliminary

 injunction. See Ashcroft v. ACLU, 542 U.S. 656 (2004). Specifically, it agreed that the least

 intrusive means of preventing minors from accessing erotic materials was through device-level

 technology, not site-level restrictions on speech:

                  Filters are less restrictive than COPA. They impose selective restrictions
                  on speech at the receiving end, not universal restrictions at the source.
                  Under a filtering regime, adults without children may gain access to
                  speech that have a right to see without having to identify themselves or
                  provide credit card information. Even adults with children may obtain
                  access to the same speech on the same terms by turning off the filter on
                  their home computers. Above all, promoting the use of filters does not
                  condemn as criminal any category of speech, and so the potential chilling
                  effect is eliminated, or at least much diminished. All of these things are
                  true, regardless of how broadly or narrowly the definitions in COPA are
                  construed.


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 Id. at 667. See also id. (noting that filtering software was more effective than COPA at keeping

 minors from harmful material online, per “findings of the Commission on Child Online

 Protection, a blue-ribbon Commission created by Congress in COPA itself”).

         The Court remanded the case “for a trial on the merits in order to, inter alia, update the

 factual record to reflect current technological developments, account for any changes in the legal

 landscape, and to determine whether Internet content filters are more effective than COPA or

 whether other possible alternatives are less restrictive and more effective than COPA.” See

 ACLU v. Gonzales, 478 F. Supp. 2d 775, 779 (E.D. Pa. 2007). After a trial, the district court

 applied strict scrutiny and concluded that that the statute failed to use the least restrictive means

 of achieving the state’s interest where content filtering software was both less restrictive and

 more effective. Id. at 810-16. The court also found the statute substantially vague and overbroad

 in multiple respects. Id. at 816-20. For example, the terms “communication for commercial

 purposes” and “engaged in business” could be construed to apply even to web-based publishers

 of free material who nevertheless receive revenue through advertising—which would chill a

 substantial amount of constitutionally protected speech. Id. And by defining a “minor” as “any

 person under 17 years of age,” the statute would apply equally to “an infant, a five-year old, or a

 person just shy of age seventeen”—even though what is “patently offensive,” of “prurient

 interest,” and of “serious literary, artistic, political, or scientific value” varies greatly depending

 on a minor’s age. Id.

         The Third Circuit again affirmed. See ACLU v. Mukasey, 534 F.3d 181, 207 (3d Cir.

 2008) (“COPA cannot withstand a strict scrutiny, vagueness, or overbreadth analysis and thus is

 unconstitutional.”). Specifically, it found a lack of precision in Congress’s tailoring the statute to

 its interest in protecting children. The terms and phrases “as a whole,” “minor,” and “commercial

 purposes” caused the statute to capture too much protected material, whereas the affirmative


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 defenses were not practicable because “many Web users are simply unwilling to provide

 identification information in order to gain access to content, especially where the information

 they wish to access is sensitive or controversial.” Id. at 190-92. So, too, did COPA fail to employ

 the least restrictive means of effecting the government’s interest, as the record below

 demonstrated that “filters and the Government’s promotion of filters are more effective than

 COPA.” Id. at 202. For many of the same reasons, COPA was vague and substantially

 overbroad, as well. Id. at 204-07.

        With the Supreme Court’s denial of certiorari, see 555 U.S. 1137 (2009), Congress

 ostensibly lost its will to tinker with the statute once more, and the Third Circuit’s Mukasey

 decision remains the last authoritative word on a federal attempt to restrict “harmful to minors”

 content on the internet. But states have taken up that mantle—albeit with the same record of

 failure.4 See, e.g., Garden Dist. Book Shop, Inc. v. Stewart, 184 F. Supp. 3d 331 (M.D. La. 2016)

 (Louisiana), American Booksellers Foundation v. Sullivan, 799 F. Supp. 2d 1078 (D. Alaska

 2011) (Alaska), American Booksellers Foundation v. Coakley, 2010 WL 4273802 (D. Mass.

 2010) (Mass.); PSINet, Inc. v. Chapman, 362 F.3d 227 (4th Cir. 2004) (Virginia), American

 Booksellers Foundation v. Dean, 342 F.3d 96 (2d Cir. 2003) (Vermont), Cyberspace

 Communications, Inc. v. Engler, 238 F.3d 420 (6th Cir. 2000) (Michigan), ACLU v. Johnson,

 194 F.3d 1149 (10th Cir. 1999) (New Mexico), ACLU v. Goddard, Civ. 00- 0505 (D. Ariz. Aug.




 4
   In those cases, not only do the First Amendment implications remain the same, but new
 Commerce Clause concerns arise when state legislatures, rather than Congress, attempt to regulate
 so fundamental an instrumentality of commerce as the internet. See, e.g., ACLU v. Johnson, 194
 F.3d 1149, 1161 (10th Cir. 1999) (holding that New Mexico statute criminalizing the
 dissemination by computer of material harmful to minors “represents an attempt to regulate
 interstate conduct occurring outside [the state’s] borders,” thus violating the Commerce Clause).

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 11, 2004) (Arizona), Southeast Booksellers v. Ass’n v. McMaster, 282 F. Supp. 2d 389 (D.S.C.

 2003) (South Carolina), American Library Association v. Pataki, 969 F. Supp. 160 (S.D.N.Y.

 1997) (New York).

         Utah’s latest effort reflects the early wave of another swell of substantially similar bills

 working through state legislatures around the country. See, e.g., Louisiana H.B. 142 (effective

 Jan. 1, 2023); Mississippi S.B. 2346 (effective July 1, 2023); Arkansas S.B. 66 (effective July

 31, 2023); Montana S.B. 544 (passed house); Texas S.B. 2021 (passed committee). Shockingly,

 it does nothing to redress the many noted infirmities that led to COPA’s demise at the federal

 level. In some respects, Utah has made them worse.

                                           IV.     ARGUMENT

     1. Legal standards governing issuance of a preliminary injunction.
         “To succeed on a typical preliminary-injunction motion, the moving party needs to prove

 four things: (1) that she’s substantially likely to succeed on the merits, (2) that she’ll suffer

 irreparable injury if the court denies the injunction, (3) that her threatened injury (without the

 injunction) outweighs the opposing party’s under the injunction, and (4) that the injunction isn't

 adverse to the public interest.” Free the Nipple-Fort Collins v. City of Fort Collins, Colorado,
 916 F.3d 792, 797 (10th Cir. 2019) (internal quotation marks omitted). Because the Act imposes

 content-based restrictions on Plaintiffs’ speech, Defendants bear the ultimate burden of proving

 the Act constitutional. See, e.g., United States v. Playboy Entm’t Grp., Inc., 529 U.S. 803, 813,

 816-17 (2000).

         Plaintiffs are entitled to a preliminary injunction in this case. They have a strong

 likelihood of success on the merits, as the Act restricts constitutionally protected content in a

 manner that is woefully ineffective, poorly tailored to the State’s interest, overbroad, vague, and

 disruptive to interstate commerce. So, too, will they suffer irreparable injury absent the grant of

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 an injunction, as they’ll face the untenable choice between ruinous tort liability and statutory

 compliance at great expense and sacrifice of constitutional freedoms. The balance of equities tips

 heavily in favor of granting the injunction, which—because it will vindicate constitutional

 rights—will serve the public interest rather than frustrate it.

    2. Plaintiffs are substantially likely to prevail on the merits.
        The Act imposes a clear violation of Plaintiffs’ rights under the First and Fourteenth

 Amendments to, and the Commerce Clause of, the United States Constitution. Much of the Act is

 warmed over from previous efforts to restrict online content, which the Supreme Court, federal

 appellate courts, and state supreme courts all have roundly criticized.

        A. The Act is a content-based regulation of speech that cannot survive strict
           scrutiny, as the First Amendment demands.

        The Act imposes substantial burdens on content providers that want to publish

 constitutionally-protected materials on the internet. It precludes older minors from accessing

 important information about sex and sexuality at a time in their lives when they need it most.

 And it sweeps within its ambit a large swath of content published by pornographic and non-

 pornographic websites alike that adults have a First Amendment right to share and receive

 without state interference. See Reno v. ACLU, 521 U.S. 844, 874-75 (1997) (recognizing that
 “sexual expression which is indecent but not obscene is protected by the First Amendment” and

 that the government cannot pursue its interest in protecting minors through an “unnecessarily

 broad suppression of speech addressed to adults”).

        As a content-based restriction on protected, non-obscene speech, the Act is

 “presumptively invalid, and the Government bears the burden to rebut that presumption.” United

 States v. Stevens, 559 U.S. 460, 468 (2010) (internal quotation marks omitted). To endure, the

 Act must survive strict scrutiny—meaning it must: (1) serve a compelling governmental interest,


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 (2) be narrowly tailored to achieve that interest, and (3) be the least restrictive means of

 advancing that interest. Sable Commc’ns of Cal., Inc. v. Fed. Commc’ns Comm’n, 492 U.S. 115,

 126 (1989).

          Plaintiffs acknowledge that Utah has a compelling interest in protecting minors from

 exposure to harmful material on the internet. See id. (“[T]here is a compelling interest in

 protecting the physical and psychological well-being of minors[.]”). But the Act fails to

 withstand strict scrutiny because it is neither narrowly tailored to achieve the State’s interest nor

 the least restrictive means of doing so. At state and federal levels, laws containing content-based

 restrictions on internet communications deemed harmful to minors have been held

 unconstitutional. See infra at 6-12. In enacting the Act, Utah has not learned its lessons from the

 past.

     i.      The Act is not narrowly tailored to serve Utah’s interest

          Most of the Act’s definition of “material harmful to minors” was pulled verbatim from

 challenged sections of COPA that the district court for the Eastern District of Pennsylvania,

 Third Circuit, and Supreme Court declared unconstitutional. The Utah legislature did not so

 much as attempt to revise these definitions to save them from constitutional challenge, and there

 has been no intervening legal development to shield them today from the same arguments that

 carried the day two decades ago.

          The Act is poorly tailored in at least the following respects:

          a. “As a whole”

          COPA defined material “harmful to minors” as that which:

                 (A) the average person, applying contemporary community standards,
                 would find, taking the material as a whole and with respect to minors, is
                 designed to appeal to, or is designed to pander to, the prurient interest; (B)
                 depicts, describes, or represents, in a manner patently offensive with

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                respect to minors, an actual or simulated sexual act or sexual contact, an
                actual or simulated normal or perverted sexual act, or a lewd exhibition of
                the genitals or post-pubescent female breast; and (C) taken as a whole,
                lacks serious literary, artistic, political, or scientific value for minors.
 ACLU v. Mukasey, 534 F.3d at 191 (citing 47 U.S.C. § 231(e)(6)) (emphasis added). As the

 Third Circuit recognized,

                when contemporary community standards are applied to the Internet,
                which does not permit speakers or exhibitors to limit their speech or
                exhibits geographically, the statute effectively limits the range of
                permissible material under the statute to that which is deemed acceptable
                only by the most puritanical communities. This limitation by definition
                burdens speech otherwise protected under the First Amendment for adults
                as well as for minors living in more tolerant settings.
                This burden becomes even more troublesome when those evaluating
                questionable material consider it “as a whole” in judging its appeal to
                minors’ prurient interests. As Justice Kennedy suggested in his concurring
                opinion [in Ashcroft v. ACLU, 535 U.S. 564, 599 (2002)], it is “essential to
                answer the vexing question of what it means to evaluate Internet material
                ‘as a whole,’ when everything on the Web is connected to everything
                else.”
 ACLU v. Ashcroft, 322 F.3d at 253.

        Although COPA did not define what, exactly, constituted the “whole” to be judged, the

 definition’s reference to “any communication, picture, image file, article, recording, writing, or

 other matter of any kind” that satisfies the three prongs of the “harmful to minors” test led the

 Third Circuit to conclude that the statute “mandates evaluation of an exhibit on the Internet in

 isolation, rather than in context”—which “surely fails to meet the strictures of the First

 Amendment.” Id. at 252–53 (noting that “one sexual image, which COPA may proscribe as

 harmful material, might not be deemed to appeal to the prurient interest of minors if it were to be

 viewed in the context of an entire collection of Renaissance artwork”); see also Ashcroft v. Free

 Speech Coalition, 535 U.S. 234 (2002) (“[It is] an essential First Amendment rule [that t]he

 artistic merit of a work does not depend on the presence of a single explicit scene.”).




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        The Utah Act is virtually identical in relevant respects—including its resort to parts (A)

 and (C) of the “harmful to minors” definition outlined above, and its failure to define “as a

 whole” while including, as “material harmful to minors,” “any material” that meets the modified-

 for-minors Miller Test. See Utah Code Ann. § 78B-3-1001(5) (emphasis added). Just as COPA

 failed to satisfy the First Amendment by “mandate[ing] evaluation of an exhibit on the Internet

 in isolation, rather than in context,” so does the Utah Act.

        The Utah legislature had two decades to study the history and tinker with its definition to

 pass constitutional muster. But it just copied Louisiana’s homework instead, leaving Plaintiffs

 and others scratching their heads. See Pfeuffer Decl. ¶ 7, Dawson Decl. ¶ 7, Ford Decl. ¶ 20.

        b. “Minor”

        The Supreme Court has strongly suggested that “modified for minors” obscenity

 regulations are unlikely to survive First Amendment scrutiny if they do not exempt older minors.

 See Reno v. ACLU, 521 U.S. 844, 865–66 (1997) (distinguishing the “junior obscenity” statute

 upheld in Ginsberg from the unconstitutional regulation before the Court on the basis that,

 among other things, the former exempted 17-year-olds, whereas the latter did not); see also

 American Booksellers Foundation v. Webb, 919 F.2d 1493, 1505 (11th Cir. 1990) (“Pope [v.

 Illinois, 481 U.S. 497 (1987)] teaches that if any reasonable minor, including a seventeen-year-

 old, would find serious value, the material is not ‘harmful to minors.’”). COPA defined “minor”

 as “any person under 17 years of age”—prompting the Third Circuit to quip that it “need not

 suggest how the statute’s targeted population could be more narrowly defined, because even the

 Government does not argue, as it could not, that materials that have ‘serious literary, artistic,

 political or scientific value’ for a sixteen-year-old would have the same value for a minor who is

 three years old.” ACLU v. Ashcroft, 322 F.3d at 253-54. The court concluded that “[e]ven if the



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 statutory meaning of ‘minor’ were limited to minors between the ages of thirteen and seventeen,

 Web publishers would still face too much uncertitude as to the nature of material that COPA

 proscribes.” Id. at 255. For that reason alone, the statute was reasoned to be unconstitutional. See

 also ACLU v. Mukasey, 534 F.3d at 193 (“Our prior decision [in ACLU v. Ashcroft] is binding on

 these issues on this appeal.”).

        Miraculously, rather than whittling down COPA’s definition of “minor,” the Utah

 legislature broadened it to include seventeen-year-olds—an age group more developed in its

 sensibilities and more burdened by a blanket definition that judges the “literary, artistic, political,

 or scientific value” not by reference to other seventeen-year-olds, but to the broader (and

 younger) group of all “minors.” The result is the restriction of material appropriate (and in some

 cases, critical) to an older teen’s self-discovery in matters as elemental as sexual expression,

 sexual orientation, gender identity. See Barrica Decl. ¶¶ 8-9. Again, the Utah legislature had

 more than two decades to tinker with its definition to pass constitutional muster. Again, it failed

 to do so.

        c. “Substantial portion”

        Because the Act requires age-verification in order to access only those websites that offer

 “material harmful to minors” as a “substantial portion” of total content (defined as one-third or

 more), minors will face no impediment to obtaining such material from websites watered

 down—either incidentally or purposefully in order to avoid the consequences of the Act–– with

 other content unoffensive to the sensibilities of the Utah legislature. Thus, given enough non-

 “harmful” material on a single site, even the providers of material that is “harmful to minors”

 under any definition will earn a pass under the Act. At the same time, the Act seeks to preclude




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 minors from accessing even those websites offering mostly anodyne content when one-third of

 the site’s material crosses the threshold into might be construed as “harmful to minors.”

        Illogical results flowing from poorly conceived statutes usually cause little constitutional

 concern, but the First Amendment demands greater precision. No content-based restriction on

 speech that would afford minors access to websites featuring hardcore pornography diluted

 sufficiently with Sesame Street videos, while denying access to websites (like O.school) offering

 a fulsome and honest sexual education, can survive strict scrutiny. Even less so when the statute

 offers no guidance as to whether total content is determined according to bytes of material,

 number of web pages, seconds of video, words of a sexual nature, or some other metric entirely.

 See Pfeuffer Decl. ¶ 7, Dawson Decl. ¶ 7, Ford Decl. ¶ 20.

        d. “Commercial entity” and “website”

        The Act foists liability upon any “commercial entity” that distributes material harmful to

 minors “from a website” containing a substantial amount of such material if that entity fails to

 perform qualifying age-verification checks. Because a “commercial entity” includes every

 “legally recognized entit[y]” from the largest corporation down to the smallest “sole

 proprietorship” (created by default when setting up a business5), the Act (intentionally or




 5
  As explained by the Utah Division of Corporations and Commercial Code:
        [A] sole proprietorship is formed very easily and inexpensively A person need
        merely set up his business to establish a sole proprietorship. No formalities are
        necessary. He may have a sole proprietorship even though he does not intend to
        create one. . . . By default then, a person going into business by himself
        automatically creates a sole proprietorship when he fails to choose another
        business form.”
 Available at https://corporations.utah.gov/business-entities/considerations-in-forming-a-sole-
 proprietorship/.

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 otherwise) requires individual performers to implement their own age-verification protocols even

 when relying on another company’s platform to host their content. The cost placed on individual

 performers to meet the dictates of the Act is more than they can feasibly bear while continuing to

 operate at a profit. See Pfeuffer Decl. ¶ 9. By imposing the burden on the performer rather than

 (or in addition to) the platform operator, Utah has chosen an inefficient and cost-prohibitive

 means of effecting its interest.

        Compounding the problem is the lack of precision as to what constitutes a “website” in

 the first place. In its simplest form, a website can mean a series of connected pages under a

 single domain name. Often, however, webpages have more complicated structures, sometimes

 involving multiple domain names or subdomains. See Pfeuffer Decl. ¶ 7, Ford Decl. ¶¶ 18-19.

 Some webpages might link to separate but related businesses, and others might be simple

 clearing houses linking to content living on different servers. For the operator of a platform (like

 Plaintiff JFF) that hosts the content of myriad individual performers, defining the bounds of the

 “website” is critical. Likewise for a content creator (like Plaintiff Pfeuffer) who archives her

 writings on a publicly accessible site that is itself a subdomain of another site to which she does

 not control user access. See Pfeuffer Decl. ¶¶ 5,7. But in failing to define “website,” the Act may

 capture far more speech than is ostensibly intended, and certainly more than is constitutional. Cf.

 ACLU v. Gonzales, 478 F. Supp. 2d at 817 (E.D. Pa. 2007) (“[A]lthough Congress intended

 COPA to apply solely to commercial pornographers . . . the phrase ‘communication for

 commercial purposes’, as it is modified by the phrase ‘engaged in the business,’ does not limit

 COPA’s application to commercial pornographers. The lack of clarity in these phrases results in

 Web sites, which only receive revenue from advertising or which generate profit for their owners

 only indirectly, from being included in COPA’s reach.”).




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        e. Chill on adult speech

        The Third Circuit acknowledged that COPA would “deter many adults from accessing

 restricted content, because many Web users are simply unwilling to provide identification

 information in order to gain access to content, especially where the information they wish to

 access is sensitive or controversial.” ACLU v. Ashcroft, 322 F.3d at 259 (“People may fear to

 transmit their personal information, and may also fear that their personal, identifying information

 will be collected and stored in the records of various Web sites or providers of adult

 identification numbers.”). See also Doe Decl. ¶ 7. Again and again, the Supreme Court has

 disapproved of content-based restrictions that require recipients to identify themselves before

 receiving access to disfavored speech, given the chilling effect on those putative recipients.6 See,

 e.g., Lamont v. Postmaster General, 381 U.S. 301 (1965) (holding that federal statute requiring

 Postmaster to halt delivery of communist propaganda unless affirmatively requested by

 addressee violated First Amendment); Denver Area Educ. Telecomms. Consortium v. FCC, 518

 U.S. 727, 732–33 (1996) (holding unconstitutional a federal law requiring cable operators to

 allow access to sexually explicit programming only to those subscribers who request access to

 the programming in advance and in writing).

        Here, Utah failed even to provide meaningful guideposts for what age-verification

 methods would prove “reasonable,” thereby driving content producers from the marketplace—

 including Plaintiff JFF. See Ford Decl. ¶¶ 12-14; see also Barrica Decl. ¶ 10. Yet the few

 indications Utah did provide all seem to require not just verification of the user’s age, but the




 6
   Requiring internet users to present identification as a condition of access imposes a substantially
 greater intrusion than does a prove-your-age requirement of a patron at a movie theater, liquor
 store, or adult bookstore. Unlike digital age verification over the internet, those latter “real world”
 visits leave no record (or risk of one) and affect only those who are plausibly under-age.

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 user’s identity. See Utah Code Ann. § 78B-3-1001 (defining “reasonable age verification

 methods” to demand scrutiny of a “digitized identification card,” confirmation of a user’s

 personal information against a database used for “age and identity verification,” or some other

 “commercially reasonable” use of a user’s “transactional data”) (emphasis added). Higher courts

 have already called out the lack of precision in this same statutory language and the same chill

 imposed by a condition requiring adults to identify themselves before receiving sexually explicit

 speech online. Utah did not so much as attempt to remedy these failings, leaving the Act as

 poorly tailored now as COPA was two decades ago. Judging from Senator McKell’s comments

 on the Senate floor, that chill on adult speech seems to be the very point of this Act.

        f. Compelled speech

        Cautious operators of even non-pornographic websites must place an age-verification

 content wall over their entire websites if they wish to continue communicating with Utah

 audiences without risking ruinous tort liability. Doing so necessarily labels them an adult

 business peddling “material harmful to minors”—the consequences of which can be dire,

 including not only declining internet traffic, but social stigma, lost ad revenue, and exclusion

 from public or private programs or curricula. Websites that process payments may lose the

 ability to accept major credit cards and be forced to use third-party billing companies that charge

 fees up to 15% of the purchase price (rather than the 3-5% typically charged by credit card

 companies). They also may face difficulty purchasing business liability insurance and hiring

 employees. See Ford Decl. ¶¶ 22-23.

        Because the Act “compels speech in this case, it also works as a content-based

 restriction.” 303 Creative LLC v. Elenis, 6 F.4th 1160, 1178 (10th Cir. 2021), cert. granted in

 part, 142 S. Ct. 1106 (2022) (applying strict scrutiny to Colorado’s Anti-Discrimination Act).



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 Requiring website operators to self-identify in such manner shifts the burden of deciphering an

 indecipherable statute from the State to the regulated operator, thereby capturing the cautious site

 operators while exempting the most brazen until some private individual decides to sue. This is

 not the stuff of narrow tailoring, and by placing the onus on private parties to police themselves,

 the State has proven willing to tolerate a level of over- and under-inclusiveness that would be

 constitutionally problematic even if the Act were a paragon of clarity—which, of course, it isn’t.

    ii.      The Act is not the least restrictive means of serving Utah’s interest

          When it comes to content-based restrictions on speech, it is well established that “[i]f a

 less restrictive alternative would serve the Government’s purpose, the legislature must use that

 alternative.” Playboy, 529 U.S. at 813; see also Reno v. ACLU, 521 U.S. at 874 (“Th[e] burden

 on adult speech is unacceptable if less restrictive alternatives would be at least as effective in

 achieving the legitimate purpose [of denying minors access to harmful content] that the statute

 was enacted to serve.”); Sable, 492 U.S. at 126.

          For decades now, courts have recognized the availability, affordability, and effectiveness

 of device-level blocking and filtering technologies that, as a parental option rather than a

 government mandate, pose no constitutional concerns. Faced with the argument that voluntary

 use of blocking and filtering software “places an onus on parents” who might not assume the

 mantle of responsibility, the Third Circuit was satisfied that the “Supreme Court has effectively

 answered this contention”—as a court must not assume “a plausible, less restrictive alternative

 would be ineffective; and a court should not presume parents, given full information, will fail to




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 act.” ACLU v. Ashcroft, 322 F.3d at 262 (quoting Playboy, 529 U.S. at 805).7 Nor did arguments

 about the over- and under-inclusiveness of blocking and filtering programs convince the court

 that COPA presented the least restrictive effective means to prevent children from viewing

 harmful content online; although the court acknowledged that such programs “may sometimes

 block too little and sometimes block too much,” it credited the district court’s finding that such

 programs could prove more effective than site-level restrictions by reaching even “foreign [w]eb

 sites, noncommercial sites, and materials available online via protocols other than http” that were

 beyond the reach of site-level restrictions. Id.at 264. A later trial on the merits in the case created

 an exhaustive record detailing the many advantages that device-level filters have over restrictions

 imposed on the websites themselves. See ACLU v. Gonzales, 478 F. Supp. 2d at 789-97; see also

 ACLU v. Mukasey, 534 F.3d at 199-204 (reviewing and affirming district court’s findings).

        Utah’s legislatively-imposed site-level restriction casts the same wide net that decades

 ago was found both too wide and too porous to withstand constitutional scrutiny. Since then, that

 net hasn’t shrunk, and the holes have grown only wider. The recent proliferation of cheap VPN

 programs has given children with a modicum of tech-savvy and access to Google the ability to

 scramble their IP address to evade a state’s site-level restrictions. Indeed, Utah residents

 immediately began using VPNs to circumvent the pornography blackout imposed by top




 7
   The Playboy Court held unconstitutional a federal statutory provision that required cable
 operators who provide channels primarily dedicated to sexually-oriented programming to scramble
 or block those channels completely, or to “time channel” their transmission by limiting their
 availability to nighttime hours. The Court found this to be a “significant restriction of [protected]
 communication between speakers and willing adult listeners” that failed strict scrutiny because
 less restrictive means were available—an opt-out provision whereby a cable subscriber could
 request the cable company to scramble or block receipt of sexually explicit channels.

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 providers.8 Moreover, accessing the dark web has become simpler than ever before, and site-

 level content restrictions risk diverting children to corners of the hidden internet that are not so

 restricted and which contain material far more harmful (and illegal) than what is available at an

 http. See generally Ahmed Ghappour, Searching Places Unknown: Law Enforcement

 Jurisdiction on the Dark Web, 69 Stan. L. Rev. 1075, 1087-90 (2017).

        Meanwhile, in the years since COPA’s constitutional challenge, device-level restrictions

 have improved dramatically. After a bench trial in the COPA litigation, the district court found

 that filtering technology can be calibrated to a particular child’s age and sensitivity by the child’s

 parents, and that filters, unlike site-level age screening, are “difficult for children to circumvent.”

 ACLU v. Gonzales, 478 F. Supp. 2d 775, 789 (E.D. Pa. 2007), aff’d sub nom., ACLU v. Mukasey,

 534 F.3d 181 (3d Cir. 2008). That technology has only improved in the intervening 15 years. So,

 too, has it proliferated. Today, many of these programs come preinstalled and ready to use from

 the moment a new computer or phone is purchased; others are free or inexpensive to download

 and highly customizable, offering benefits well beyond screening for sexual content. See Boden

 Decl. ¶¶ 10-15.

        Utah of course could have created incentives and campaigned for the improvement and

 expanded use of content filters—as the Supreme Court has suggested. See Ashcroft v. ACLU, 542

 U.S. at 670 (“Congress can give strong incentives to schools and libraries to use [device filters].

 It could also take steps to promote their development by industry, and their use by parents. . . .

 By enacting programs to promote use of filtering software, Congress could give parents that




 8
  See Christiano Lima, “Utah’s porn crackdown has a VPN problem,” Washington Post, May 5,
 2023, available at https://www.washingtonpost.com/politics/2023/05/05/utahs-porn-crackdown-
 has-vpn-problem/.

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 ability without subjecting protected speech to severe penalties.”). It hasn’t done so—opting

 instead for a blanket restriction that, by imposing substantial costs on content providers, reveals

 the State’s true intention of stifling disfavored speech. See Ford Decl. ¶¶ 12-14, Barrica Decl.

 ¶ 10. See also ACLU v. Mukasey, 534 F.3d at 195 (suggesting that weaknesses of site-level

 restrictions, compared against device-level filters, “might raise the inference that Congress had

 some ulterior, impermissible motive for passing COPA”).

        “Precision of regulation must be the touchstone in an area so closely touching our most

 precious freedoms.” Elrod v. Burns, 427 U.S. 347, 363 (1976). Here, that precision is woefully

 lacking, leaving Defendants with no serious argument that the Act may survive strict scrutiny.

        B. The Act is both constitutionally overbroad and vague.

        A statute that burdens otherwise protected speech is facially invalid when that burden is

 not only real, but “substantial as well, judged in relation to the statute’s plainly legitimate

 sweep.” Broadrick v. Oklahoma, 413 U.S. 601, 615 (1973). Put another way, the overbreadth

 doctrine prohibits the Government from restricting even unprotected speech where “a substantial

 amount of protected speech is prohibited or chilled in the process.” Ashcroft v. Free Speech

 Coal., 535 U.S. at 237. An overbreadth analysis often engages in the same questions as the

 narrow tailoring prong of a strict scrutiny analysis. See ACLU v. Ashcroft, 322 F.3d at 266

 (“Overbreadth analysis—like the question whether a statute is narrowly tailored to serve a

 compelling governmental interest—examines whether a statute encroaches upon speech in a

 constitutionally overinclusive manner.”).

        So, too, may overbreadth challenges overlap substantially with Fourteenth Amendment

 void-for-vagueness challenges. See Kolender v. Lawson, 461 U.S. 352, 358 n. 8 (1983) (“[W]e

 have traditionally viewed vagueness and overbreadth as logically related and similar doctrines.”).



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 A statute is void for vagueness if it “forbids . . . the doing of an act in terms so vague that

 [persons] of common intelligence must necessarily guess at its meaning and differ as to its

 application.” Connally v. General Constr. Co., 269 U.S. 385, 391 (1926); see also Grayned v.

 City of Rockford, 408 U.S. 104, 108 (1972) (“It is a basic principle of due process that an

 enactment is void for vagueness if its prohibitions are not clearly defined.”). “[S]tandards of

 permissible statutory vagueness are strict in the area of free expression,” and the “Court has not

 hesitated to take into account possible applications of the statute in other factual contexts besides

 that at bar.” NAACP v. Button, 371 U.S. 415, 432 (1963); see also Reno v. ACLU, 521 U.S. at

 871–72 (1997) (where the vagueness arises amidst a “content-based regulation of speech[,] the

 vagueness of such a regulation raises special First Amendment concerns because of its obvious

 chilling effect on free speech”).

        The Utah Act is both substantially overbroad and unconstitutionally vague in myriad

 respects. As discussed supra, the phrase “taken as a whole” in the definition of “material harmful

 to minors” does not explain how the “whole” is to be judged. Should one consider only a specific

 article, certain text, or an individual image on a website? Or should one consider the web page

 on which that text or image appears? Or the entire website? And should one include linked

 material? As “any material” meeting the modified-for-minors Miller Test is deemed “harmful to

 minors” under the Act, what then constitutes a discrete and divisible item of “material”? The

 phrase “substantial portion,” defined as “more than 33-1/3% of total material on a website,”

 likewise fails to explain how “total material” is calculated. Is it by the volume of data? The

 number of posts? What is the proper metric to measure? Gigabytes? Character count? Number of

 images? Video runtime? And what about linked material? May a website avoid the problem

 altogether by providing a link to all the innocuous content in the local public library? These




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 ambiguities have led to confusion among the Plaintiffs and fear of liability from noncompliance

 with the Act. See Pfeuffer Decl. ¶ 7, Dawson Decl. ¶ 7, Ford Decl. ¶ 20.

        The term “minor,” defined as “any person under 18 years old,” is vague insofar as it fails

 to designate the whole from which a content provider must ascertain the average. Whether

 material is designed to appeal to the prurient interest, is presented in a “patently offensive

 manner,” or lacks serious literary, artistic, political, or scientific value is determined with respect

 to minors. But does this “minor” refer to some hypothetical pre-teen reflecting the median

 sensibility across all minors, from infants to high school seniors? Or some other person

 occupying some other position on the maturity spectrum? To the extent that older minors are

 shut out from accessing critical, age-appropriate content, the definition is substantially overbroad

 (and potentially dangerous). See Barrica Decl. ¶¶ 8-9.

        The terms “commercial entity” and “website” are overbroad and vague to the extent that

 the former might capture performers publishing content on another company’s platform, while

 the latter could be read to capture just about anything on the internet—from a performer’s

 channel hosted on another platform, to the skeleton of that platform, to the entire contents of that

 platform and even other platforms housed on the same servers and sharing the same code. See

 Ford Decl. ¶¶ 18-19, Pfeuffer Decl. ¶ 7, Dawson Decl. ¶ 7.

        The statutory catch-all in the Act’s safe harbor provision permits “any commercially

 reasonable method that relies on public or private transactional data” as a means of verifying a

 user’s age but provides no guideposts whatsoever as to what “commercially reasonable”

 demands. See Ford Decl. ¶ 21, Barrica Decl. ¶ 10, Pfeuffer Decl. ¶ 9, Dawson Decl. ¶ 7.

        Reference to “contemporary community standards” is vague and overbroad due to the

 borderless nature of the internet. Utah is a diverse state, and the “contemporary community

 standards” vary widely from Park City to Provo, but when a content provider publishes material


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 on a website, the same material is made available in every Utah county. To avoid running afoul

 of the Act, websites must abide by a “most prudish community” standard—restricting (in the

 case of minors) or chilling (in the case of adults) substantial quantities of constitutionally

 protected content.

        Finally, it is unclear what, exactly, a commercial entity must “know” or “intend” to be

 liable under the Act. Must the entity merely intend to publish or distribute material that,

 incidentally, happens to fit the statutory definition of “material harmful to minors?” Must the

 entity know that the published material meets that definition? Must it know that the publishing

 website’s offerings, as a whole, contain at least one-third such material? The question is of

 particular salience to commercial entities that publish or distribute materials on websites owned

 and operated by other commercial entities—potentially tasking the former with a duty to

 inventory the full array of materials offered by the latter.

        By placing significant burdens on web publishers’ ability to disseminate protected speech

 and web users’ ability to receive it, the Act encroaches upon a significant amount of protected

 speech beyond that which Utah may target constitutionally to prevent minors’ access to sexual

 material. See Ginsberg, 390 U.S. at 639–43; Sable, 492 U.S. at 126; Erznoznik v. City of

 Jacksonville, 422 U.S. 205, 212–14 (1975). And by placing so much of the operative language

 beyond the ability of a trained attorney (never mind an average person) to understand, the Act is

 unconstitutionally vague, as well. See Connally, 269 U.S. at 391; Reno v. ACLU, 521 U.S. at

 871–72.




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           C. The Act violates the Commerce Clause.

           The Act violates the Commerce Clause because it regulates strictly out-of-state conduct,

 places burdens on interstate commerce that clearly outweigh its illusory local benefits, and

 legislates a critical instrumentality of commerce that demands unform regulation.

    i.        The Act impermissibly regulates the activities of out-of-state websites.

           The Act burdens interstate commerce by impinging on communication occurring outside

 Utah’s borders. Unlike, say, pork produced according to animal husbandry practices that violate

 the standards of another state where it is sold, see Nat’l Pork Prods. Council v. Ross, 598 U. S.

 ____ (2023), content published over the internet automatically reaches internet-enabled

 computers in all 50 states and requires affirmative and costly steps by the website operator to

 limit its geographic reach. See ACLU v. Johnson, 194 F.3d 1149, 1161 (10th Cir. 1999) (holding

 that New Mexico statute criminalizing the dissemination by computer of material harmful to

 minors “represents an attempt to regulate interstate conduct occurring outside [the state’s]

 borders,” thus violating the Commerce Clause). The Act thus “has the practical effect of . . .

 control[ling] conduct beyond the boundaries of the State.” Healy v. Beer Inst., 491 U.S. 324, 336

 (1989).

    ii.       The Act’s burdens on interstate commerce clearly outweigh any local benefits.

           Even if the Act were not a direct regulation of out-of-state conduct, it would still run

 afoul of the Commerce Clause by imposing burdens on interstate commerce that are “clearly

 excessive” in relation to its local benefits. See Pike v. Bruce Church, Inc., 397 U.S. 137, 142

 (1970); see also Johnson, 194 F.3d at 1162 (“New Mexico’s prosecution of parties from out of

 state who have allegedly violated [the ban on internet dissemination of “harmful to minors”

 material], but whose only contact with New Mexico occurs via the Internet, is beset with


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 practical difficulties, even if New Mexico is able to exercise criminal jurisdiction over such

 parties.”) (brackets omitted).

    iii.      The Act creates inconsistent regulation of the internet.

           The Act also violates the long-established rule barring states from enacting differing

 standards for instrumentalities of national commerce where uniformity is required. See Johnson,

 194 F.3d at 1162 (“[C]ertain types of commerce have been recognized as requiring national

 regulation. The Internet is surely such a medium.”); see id. at 1161 (“The unique nature of the

 Internet highlights the likelihood that a single actor might be subject to haphazard,

 uncoordinated, and even outright inconsistent regulation by states that the actor never intended to

 reach and possibly was unaware were being accessed.”) (quoting American Libraries Ass’n v.

 Pataki, 969 F. Supp. 160, 168–69 (S.D.N.Y.1997)).

           Even to the extent that the Supreme Court’s recent decision in Nat’l Pork Prods. Council

 v. Ross read Pike narrowly, it reaffirmed the line of cases “in which th[e] Court refused to

 enforce certain state regulations on instrumentalities of interstate transportation—trucks, trains,

 and the like.” 598 U. S. ____ (2023), Slip Copy at 17-18 n.2 (citing Bibb v. Navajo Freight

 Lines, Inc., 359 U. S. 520, 523–530 (1959) (mud flaps for trucks and trailers) and Southern

 Pacific Co. v. Arizona ex rel. Sullivan, 325 U. S. 761, 763–782 (1945) (length of trains)). The

 dormant aspect of the Commerce Clause shows its teeth when “a lack of national uniformity

 would impede the flow of interstate goods.” Id. (quoting Exxon Corp. v. Governor of Maryland,

 437 U. S. 117, 128 (1978)). And while “[p]igs are not trucks or trains,” see id., the internet is

 precisely the type of instrumentality of commerce that demands uniform regulation of materials

 published thereon.




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         The threat of inconsistent regulation is clear and present. The Utah Act is modeled after

 Louisiana’s H.B. 142 (effective Jan. 1, 2023) and precedes the effective date of other similar

 state laws that either have been enacted, see Mississippi S.B. 2346 (effective July 1, 2023);

 Arkansas S.B. 66 (effective July 31, 2023), or seem likely to be, see, e.g., Montana S.B. 544

 (passed house); Texas S.B. 2021 (passed committee). If the Utah Act is permitted to stand, then

 publishers of internet content will have to navigate a morass of differing legal standards,

 “community standards,” digitized identification cards, and approved technologies and protocols

 for age-verifying. Cf. Stevens, 559 U.S. at 476 (“Those seeking to comply with the law . . . face a

 bewildering maze of regulations from at least 56 separate jurisdictions.”). Disparate regulation of

 erotic material is just the canary in the coal mine; a patchwork of state-by-state regulation of this

 sort threatens the internet as we know it.

     3. Plaintiffs are likely to suffer irreparable injury absent imposition of the injunction.

         “What makes an injury ‘irreparable’ is the inadequacy of, and the difficulty of

 calculating, a monetary remedy after a full trial.” Free the Nipple, 916 F.3d at 806. As “[a]ny

 deprivation of any constitutional right fits that bill[,] . . . courts consider the infringement of a

 constitutional right enough and require no further showing of irreparable injury.” Id. at 805-06

 (citing Awad v. Ziriax, 670 F.3d 1111, 1131 (10th Cir. 2012)); see also Heideman v. South Salt

 Lake City, 348 F.3d 1182 (10th Cir. 2003) (requiring dancers to wear pasties and G-strings while

 challenging an ordinance banning nudity within sexually-oriented businesses was a sufficient

 loss of First Amendment freedom to constitute irreparable harm for the purposes of their

 application for preliminary injunctive relief); accord Elrod v. Burns, 427 U.S. 347, 373 (1976)

 (“The loss of First Amendment freedoms, for even minimal periods of time, unquestionably

 constitutes irreparable injury.”).




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     4. The balance of harms tilts toward Plaintiffs.
         “[W]hen the law that voters wish to enact is likely unconstitutional, their interests do not

 outweigh [a plaintiff’s] in having his constitutional rights protected.” Awad, 670 F.3d at 1131.

 Indeed, “when a constitutional right hangs in the balance, . . . even a temporary loss usually

 trumps any harm to the defendant.” Free the Nipple, 916 F.3d at 806 (noting that “being required

 to wait to bare their breasts in public” deprives the Plaintiffs of a constitutional right, while the

 City has no interest in keeping an unconstitutional law on the books”); accord Wright & Miller,

 FED PRAC. & PROC. § 2948.2.

         For the reasons discussed supra, Plaintiffs are incurring constitutional injury every day

 the Act remains in effect; the State of Utah, meanwhile, has no legitimate interest in the

 enforcement of a patently unconstitutional statute that has been in effect for just a few weeks.

     5. An injunction is not adverse to the public interest.

         The Tenth Circuit has acknowledged that it is “always in the public interest to prevent the

 violation of a party’s constitutional rights.” Free the Nipple, 237 F.Supp.3d at 1134; see also

 Cate v. Oldham, 707 F.2d 1176, 1190 (10th Cir. 1983) (noting the “strong public interest in

 protecting First Amendment values”).

         The Act is a poorly crafted solution to a poorly articulated problem, and the public
 interest is not advanced by the endurance of an overly restrictive, vague, and overbroad statute

 that imperils the rights of Utahns to provide and receive constitutionally-protected material over

 the internet.




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                                        V.      CONCLUSION

        For the foregoing reasons, Plaintiffs respectfully ask this Court to enjoin enforcement of

 the Act pending the final determination of this action.



 Respectfully Submitted,



                                                      By     /s/ Jeffrey Sandman

 Date: May 31, 2023                                   ____________________________
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